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 5
 6   ATTORNEY FOR DEFENDANT
     CARLOS LEE SANCHEZ
 7
 8
 9                IN THE UNITED STATES DISTRICT COURT FOR THE
10                      EASTERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,     )                CR.-S-04-205-GEB
12                                 )
          PLAINTIFF,               )                STIPULATION AND ORDER
13                                 )                TO CONTINUE STATUS OF
          v.                       )                ALLEGED VIOLATION TO
14                                 )                FRIDAY, NOVEMBER 20, 2009
     CARLOS LEE SANCHEZ,           )
15                                 )
          DEFENDANT.               )
16   _______________________________)
17         Plaintiff United States of America, by its counsel, Assistant United States
18   Attorney, Ms. Mary Grad and defendant, Mr. Carlos Lee Sanchez, Jr., by his attorney
19   Mr. James R. Greiner, hereby stipulate and agree that the status conference
20   calendared for Friday, October 16, 2009, at 9:00 a.m. before the Honorable United
21   States District Court Judge, Garland E. Burrell, Jr., may be continued to Friday,
22   November 20, 2009, at 9:00 a.m..
23         The Court’s courtroom relief deputy, Ms. Casey Schultz, has been contacted to
24   ensure the Court’s calendar was available for that date and the Court is available on
25   Friday, November 20, 2009. In addition, probation officer, Ms. Cynthia Mazzei, was
26   contacted to ensure her consent to and availability for that date, and she consented to
27   the continuance and is available on that date.
28                                              1
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 1             The defendant is out of custody under supervision.
 2             The continuance is requested and needed for the defense to do investigation
 3   and review the material in this matter. There is no speedy trial act requirement for
 4   exclusion of time, however, the defendant does agree and consent to this continuance
 5   after being informed by telephone conference of the case, circumstances and his legal
 6   rights.
 7
 8                                      Respectfully submitted,
                                        LAWRENCE G. BROWN
 9                                      ACTING UNITED STATES ATTORNEY
10                                      /s/ Mary Grad by in person authorization
     DATED: 10-14-09                    _____________________________________
11                                      Mary Grad
                                        ASSISTANT UNITED STATE ATTORNEY
12                                      ATTORNEY FOR THE PLAINTIFF
13
     DATED: 10-14-09                    /s/ James R. Greiner
14                                      _______________________________________
                                        James R. Greiner
15                                      Attorney for Defendant
                                        Carlos Sanchez
16
17
                                              ORDER
18
19
               FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
20
21   Dated: October 14, 2009
22
23
24                                          GARLAND E. BURRELL, JR.
                                            United States District Judge
25
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27
28                                                2
